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IY s.'yeseruab llEF\lTY
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
' L
UNITED sTATES oF AMERICA, case No.: 1BCR2335-R%
MMMHL ;§§QBM§L;Q§
V. Title 8, U.S.C., Sec. 1325 -
Improper Entry by an Alien
ERIC OMAR OROMAN~CONTRERAS, (Misdemeanor)
Defendant.

 

 

 

 

The United States Attorney charges:
Count l
On or about April 27, 2018, within the Southern District of
California, the Defendant, ERIC OMAR OROMAN~CONTRERAS, an alien,
unlawfully eluded examination and inspection by immigration
officere, a misdemeanor; in violation of Title 8, United States

Code, Section 1325.

DATED: ,‘) | ADAM L. BRAVERMAN

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Un/j,,,t€ql SZ;ate ,Attorney
//` J/

V M. L OP
S§/Qial ASSiStant U.S. Attorney

  
  
    

5/1/18

 

